                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 3:10-00258
                                               )           JUDGE CAMPBELL
MIGUEL PADILLA                                 )


                                             ORDER

       Pending before the Court is the Defendant’s Unopposed Motion To Continue Sentencing

Hearing (Docket No. 583). Through the Motion, the Defendant requests that the sentencing

hearing, currently set for February 21, 2014, be continued because counsel needs additional time

to prepare for the hearing.

       The Motion is GRANTED. Accordingly, the sentencing hearing is CONTINUED until

March 6, 2014, at 1:00 p.m.

       It is so ORDERED.


                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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